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 1                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
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 3
      THERESA SWEET, et al.,
 4                                                              No. 3:19-cv-03674-WHA
                           Plaintiffs,
 5
              v.
 6
                                                                [PROPOSED] ORDER GRANTING
 7    MIGUEL CARDONA, in his official capacity                  STIPULATED REQUEST TO CORRECT
      as Secretary of Education, and the UNITED                 TECHNICAL ERRORS IN EXHIBIT C TO
 8    STATES DEPARTMENT OF EDUCATION                            PROPOSED SETTLEMENT
                                                                AGREEMENT
 9                         Defendants.
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12   It is HEREBY ORDERED that:
13      The parties’ stipulated request to correct technical errors in Exhibit C to their proposed
14   settlement agreement is GRANTED; and
15      The document attached to the parties’ stipulation, ECF No. 317-1, SHALL HEREBY
16   constitute the operative version of Exhibit C to the parties’ proposed settlement agreement.
17      The parties SHALL notify the class of these technical changes by updating their respective
18   websites to include this operative version of Exhibit C.
19
20   PURSUANT TO STIPULATION, IT IS SO ORDERED.

21
22   Dated: _________
23
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26                                                   William H. Alsup
                                                     United States District Judge
27
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       [Proposed] Order Granting Stipulated Request to Correct Technical Errors in Exhibit C to Proposed Settlement
                                                       Agreement
                                                   3:19-cv-03674-WHA
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